Case: 1:17-Cv-09239 Document #: 27 Filed: 09/14/18 Page 1 of 2 Page|D #:77

IN lTH)@: UNITED sTATEs DIsTRICT `CoURT
NoRTHERN DISTRICT oF ILLINols, EASTERN nlvlsloN

GIOVANNI VALLE,
Plaintiff,

v.
No. 17 CV 09239
The CITY OF CHICAGO, Illinois, a
municipal corporation, Chicago Police
OFFICER CAROL WEINGART and
UNKNOWN Defendant Offlcers,

\_/\_/\_!\_/\_/\_/\_/\./\_/\_/\_/\_/

Defendants.
STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
PURSUANT TO Fed. R. Civ. P. 41(a)(1)(ii)
NOW COMES Plaintiff, GIOVANNI VALLE, by and through his attorneys, Goldberg
_Weisman Cairo, Ltd., Who states as follows:
l. lt is hereby stipulated by Plaintiff - and Defendants through their respective counsel that
Plaintiff shall voluntarily dismiss this action with prejudice, pursuant to Federal Rule‘of
Civil Procedure 41(a)(l)(ii), With each side bearing its own costs and fees.
WHEREFORE, Plaintiff asks this Court to enter an order dismissing Defendants from this action

With prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii).

Dated: September 14, 2018 Respectfully Submitted,
By: s./ Lance Northcutt

Attorney for the Plaintiffs

Case: 1:17-Cv-09239 Document #: 27 Filed: 09/14/18 Page 2 of 2 Page|D #:78

 

S./ Lance Northcutt
September 14, 2018
Attomey for Plaintiffs
s./ Jenm`fer Bagby
Septernber 14, 2018

 

Attorney for Defendants

Goldberg Weisman Cairo, Ltd.
1 East Wacker Drive, Suite 3800
Chicago, Illinois 60601

P: (312) 464-1200

F: (312) 245-2215
lnorthcutt@gwclaw.com '
ARDC# 6278144

